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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

JINJIANGSHISILULIANGPINJINCHUKOUMAOYI
CO., LTD., et al.
                                                             Plaintiff,
v.                                                                        Case No.:
                                                                          1:23−cv−04687
                                                                          Honorable Martha
                                                                          M. Pacold
The Entities and Individuals Identified in Annex A, et al.
                                                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 5, 2023:


        MINUTE entry before the Honorable Martha M. Pacold: Pursuant to the
stipulation of dismissal with prejudice [87], this case is hereby dismissed with prejudice.
Each party will bear its own attorneys' fees and costs. Civil case terminated. (rao, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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